1A
 /2009
 /2011
 101-7-TFR
 3ems Inc.
                                                           UNITED STATES BANKRUPTCY COURT
                                                                 DISTRICT OF OREGON
                                                                  PORTLAND DIVISION


                   In re:                                                                          §
                                                                                                   §
                   Elbert G Garboden                                                               §           Case No. 15-35133-RLD7
                   Sherry L Garboden                                                               §
                                                                                                   §
                                                                 Debtors                           §

                                                                TRUSTEE’S FINAL REPORT (TFR)

                              The undersigned trustee hereby makes this Final Report and states as follows:

                          1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                    10/31/2015 . The undersigned trustee was appointed on 10/31/2015 .

                              2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                           3. All scheduled and known assets of the estate have been reduced to cash, released to
                   the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                   pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                   disposition of all property of the estate is attached as Exhibit A.

                              4. The trustee realized gross receipts of                                             $                 5,000.00

                                                     Funds were disbursed in the following amounts:

                                                     Payments made under an interim                                                          0.00
                                                     disbursement
                                                     Administrative expenses                                                                0.00
                                                     Bank service fees                                                                     30.00
                                                     Other payments to creditors                                                            0.00
                                                     Non-estate funds paid to 3rd Parties                                                   0.00
                                                     Exemptions paid to the debtor                                                          0.00
                                                     Other payments to the debtor                                                           0.00
                                                                                               1
                                                     Leaving a balance on hand of                                   $                 4,970.00

             ____________________
                        1
                           The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
             will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
             maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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       The remaining funds are available for distribution.

             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 05/10/2016 and the
      deadline for filing governmental claims was 05/10/2016 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 1,250.00 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 1,250.00 , for a total compensation of $ 1,250.00 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 27.73 , for total expenses of $ 27.73 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 06/28/2016                                     By:/s/AMY MITCHELL
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                         FORM 1
                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                      ASSET CASES
                                                                                                                                                                                                      Exhibit A
Case No:              15-35133                       RLD             Judge:        Randall L. Dunn                             Trustee Name:                      AMY MITCHELL
Case Name:            Elbert G Garboden                                                                                        Date Filed (f) or Converted (c):   10/31/2015 (f)
                      Sherry L Garboden                                                                                        341(a) Meeting Date:               12/07/2015
For Period Ending:    06/28/2016                                                                                               Claims Bar Date:                   05/10/2016


                                   1                                              2                            3                            4                          5                             6

                         Asset Description                                      Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                         Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                                Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                          Exemptions,                                                                              Assets
                                                                                                        and Other Costs)

  1. Real Property                                                                    324,015.00                        0.00                                                5,000.00                           FA

     12054 Chapin Court, Oregon City, OR 97045 Value per zillow
     (does not account for repairs needed: roof and floors)
     Debtors waived exemption for Estate to convey its interest to
     Turning Leaf Homes for $5,000 and payment to Debtors of
     $5,000 plus $1,000 for Debtors' attorney fees.
  2. Cash                                                                                   275.00                      0.00                                                       0.00                        FA
  3. Financial Account                                                                  4,290.00                        0.00                                                       0.00                        FA

     Wells Fargo
     Balance at filing $4,388.03
  4. Financial Account                                                                        9.00                      0.00                                                       0.00                        FA

     OnPoint Credit Union savings
     Balance at filing $414.26
  5. Household Goods & Electronics                                                      1,500.00                        0.00                                                       0.00                        FA
  6. Books, Artwork & Knick Knacks                                                          200.00                      0.00                                                       0.00                        FA
  7. Clothing                                                                               500.00                      0.00                                                       0.00                        FA
  8. Jewelry                                                                            1,000.00                        0.00                                                       0.00                        FA
  9. Firearms                                                                               700.00                      0.00                                                       0.00                        FA

     30/40 Craig 1898 Springfield Army Rifle $700
 10. Insurance Policies                                                                       0.00                      0.00                                                       0.00                        FA

     Term Life Insurance through W's employer (no value)
 11. Retirement Account                                                                84,206.00                        0.00                                                       0.00                        FA

     First Interstate retirement (estimate)
 12. Retirement Account                                                               159,022.00                        0.00                                                       0.00                        FA

     Wells Fargo 401(k) (estimate)



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                                                                                FORM 1
                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                             ASSET CASES
                                                                                                                                                                                             Exhibit A
Case No:               15-35133                       RLD   Judge:        Randall L. Dunn                             Trustee Name:                      AMY MITCHELL
Case Name:             Elbert G Garboden                                                                              Date Filed (f) or Converted (c):   10/31/2015 (f)
                       Sherry L Garboden                                                                              341(a) Meeting Date:               12/07/2015
For Period Ending:     06/28/2016                                                                                     Claims Bar Date:                   05/10/2016


                                    1                                    2                            3                            4                          5                             6

                           Asset Description                           Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
               (Scheduled and Unscheduled (u) Property)              Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                       Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                 Exemptions,                                                                              Assets
                                                                                               and Other Costs)

 13. Pension                                                                       0.00                        0.00                                                       0.00                        FA

     PERS Monthly net: $2924.68
 14. Tax Refunds                                                                   0.00                        0.00                                                       0.00                        FA

     Potential 2015 Tax Refund (unknown)
 15. Wages                                                                         0.00                        0.00                                                       0.00                        FA
 16. Wages                                                                         0.00                        0.00                                                       0.00                        FA
 17. Vehicle                                                                   2,435.00                        0.00                                                       0.00                        FA

     1999 Ford Expedition V8 (158k miles est)
 18. Vehicle                                                                   2,645.00                        0.00                                                       0.00                        FA

     2006 Mazda 5 (175k miles est)
 19. Trailer                                                                       0.00                        0.00                                                       0.00                        FA

     2010 Open Range Trailer
 20. Misc.                                                                     1,336.45                        0.00                                                       0.00                        FA

     Tires and Brakes
 21. Animals                                                                       0.00                        0.00                                                       0.00                        FA

     2 pet dogs not used for breeding (no value)
 22. Preference                                                                6,934.92                        0.00                                                       0.00                        FA

     Payments to Bank of America
     Regular monthly payments to secured creditor (home).
     Ordinary course.
 23. Preference                                                                1,697.85                        0.00                                                       0.00                        FA

     Payments to Citi Mortgage
     Regular monthly payments to secured creditor (home -
     second). Ordinary course.



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                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                        Exhibit A
Case No:              15-35133                         RLD            Judge:        Randall L. Dunn                              Trustee Name:                      AMY MITCHELL
Case Name:            Elbert G Garboden                                                                                          Date Filed (f) or Converted (c):   10/31/2015 (f)
                      Sherry L Garboden                                                                                          341(a) Meeting Date:               12/07/2015
For Period Ending:    06/28/2016                                                                                                 Claims Bar Date:                   05/10/2016


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

 24. Preference                                                                            1,668.21                       0.00                                                       0.00                        FA

     Payments to Wells Fargo Card Service
     Regular monthly payments to unsecured creditor (cc -
     minimum). Ordinary course.
 25. Preference                                                                            1,158.00                       0.00                                                       0.00                        FA

     Payments to Bank of America
     Regular monthly payments to unsecured creditor (cc -
     minimum). Ordinary course.


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $593,592.43                     $0.00                                                $5,000.00                         $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




  Initial Projected Date of Final Report (TFR): 12/15/2016            Current Projected Date of Final Report (TFR): 12/15/2016




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                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-35133                                                                                              Trustee Name: AMY MITCHELL                                               Exhibit B
      Case Name: Elbert G Garboden                                                                                          Bank Name: Union Bank
                   Sherry L Garboden                                                                               Account Number/CD#: XXXXXX7569
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX7324                                                                              Blanket Bond (per case limit): $65,574,033.00
For Period Ending: 06/28/2016                                                                             Separate Bond (if applicable):


       1                2                               3                                             4                                                    5                   6                     7

Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   04/20/16             1          Turning Leaf Homes                        Real Estate Proceeds                                  1110-000                 $5,000.00                                 $5,000.00

   05/25/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $15.00            $4,985.00
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   06/27/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $15.00            $4,970.00
                                                                             U.S.C. 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)


                                                                                                             COLUMN TOTALS                                  $5,000.00               $30.00
                                                                                                                   Less: Bank Transfers/CD's                    $0.00                $0.00
                                                                                                             Subtotal                                       $5,000.00               $30.00
                                                                                                                   Less: Payments to Debtors                    $0.00                $0.00
                                                                                                             Net                                            $5,000.00               $30.00




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                                                                                                                                                                  Exhibit B
                                                                                             TOTAL OF ALL ACCOUNTS
                                                                                                                                             NET             ACCOUNT
                                                                                                           NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                          XXXXXX7569 - Checking                                                  $5,000.00                 $30.00             $4,970.00
                                                                                                                 $5,000.00                 $30.00             $4,970.00

                                                                                                         (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                 transfers)            to debtors)
                                          Total Allocation Receipts:                            $0.00
                                          Total Net Deposits:                                $5,000.00
                                          Total Gross Receipts:                              $5,000.00




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                                                  Case 15-35133-rld7                Doc 41   Filed 09/19/16
                                                                         Exhibit C
                                                               ANALYSIS OF CLAIMS REGISTER
Case Number: 15-35133-RLD7                                                                                                                    Date: June 29, 2016
Debtor Name: Elbert G Garboden
Claims Bar Date: 5/10/2016


Code #     Creditor Name And Address          Claim Class       Notes                                        Scheduled             Claimed              Allowed
           AMY MITCHELL                       Administrative                                                     $0.00            $1,250.00            $1,250.00
100        P.O. Box 2289
2100       Lake Oswego, OR 97035




           AMY MITCHELL                       Administrative                                                       $0.00             $27.73               $27.73
100        P.O. Box 2289
2200       Lake Oswego, OR 97035




1A         INTERNAL REVENUE SERVICE           Priority                                                       $8,791.26            $7,087.26            $7,087.26
280        PO BOX 7346
5800       Philadelphia, PA 19101-7346




2          PYOD LLC                           Unsecured                                                          $132.22            $160.37              $160.37
300        c/o Resurgent Capital Services
7100       PO Box 19008                                         Home Depot/Citibank
           Greenville, SC 29602


3          CREDIT FIRST NA                    Unsecured                                                          $852.55            $903.53              $903.53
300        P O Box 818011
7100       Cleveland, OH 44181                                  Firestone




4          ONPOINT COMMUNITY                  Unsecured                                                     $16,700.00            $2,470.91            $2,470.91
300        CREDIT UNION
7100       PO Box 3750                                          vehicle deficiency - 2010 trailer
           Portland, OR 97208


5          ONPOINT COMMUNITY                  Unsecured                                                      $4,719.06            $4,749.79            $4,749.79
300        CREDIT UNION
7100       PO Box 3750                                          unsecured line of credit
           Portland, OR 97208


6          Wells Fargo Card Services          Unsecured                                                     $24,824.10           $24,970.73           $24,970.73
300        PO Box 9210
7100       Des Moines, IA 50306




7          Portfolio Recovery Associates,     Unsecured                                                      $2,183.07            $2,183.07            $2,183.07
300        LLC
7100       C/O Chevron And Texaco Credit                        Chevron/Texaco
           Card
           POB 12914
           Norfolk Va 23541



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                                             Case 15-35133-rld7                Doc 41           Filed 09/19/16
                                                                         Exhibit C
                                                               ANALYSIS OF CLAIMS REGISTER
Case Number: 15-35133-RLD7                                                                                                           Date: June 29, 2016
Debtor Name: Elbert G Garboden
Claims Bar Date: 5/10/2016


Code #     Creditor Name And Address          Claim Class        Notes                                Scheduled            Claimed             Allowed
8          Portfolio Recovery Associates,     Unsecured                                                 $746.37            $764.28             $764.28
300        LLC
7100       C/O 76 Personal Credit Card                           Phillips 76
           POB 12914
           Norfolk VA 23541

1B         INTERNAL REVENUE SERVICE           Unsecured                                               $8,791.26          $7,087.26            $7,087.26
380        PO BOX 7346
7300       Philadelphia, PA 19101-7346                           penalty




           Case Totals                                                                               $67,739.89         $51,654.93           $51,654.93
              Code#: Trustee’s Claim Number, Priority Code, Claim Type (UTC)




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                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 15-35133-RLD7
     Case Name: Elbert G Garboden
                 Sherry L Garboden
     Trustee Name: AMY MITCHELL
                         Balance on hand                                               $                 4,970.00

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                             Interim Payments Proposed
                         Reason/Applicant              Total Requested       to Date          Payment
      Trustee Fees: AMY MITCHELL                      $         1,250.00 $                 0.00 $        1,250.00
      Trustee Expenses: AMY MITCHELL                  $               27.73 $              0.00 $            27.73
                 Total to be paid for chapter 7 administrative expenses                $                 1,277.73
                 Remaining Balance                                                     $                 3,692.27


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 7,087.26 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:




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                                                          Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                        of Claim           to Date          Payment
                          INTERNAL REVENUE
     1A                   SERVICE                         $     7,087.26 $              0.00 $       3,692.27
                 Total to be paid to priority creditors                                $             3,692.27
                 Remaining Balance                                                     $                 0.00


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 36,202.68 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                          Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                        of Claim           to Date          Payment
     2                    PYOD LLC                        $       160.37 $              0.00 $           0.00
     3                    CREDIT FIRST NA                 $       903.53 $              0.00 $           0.00
                          ONPOINT COMMUNITY
     4                    CREDIT UNION      $                   2,470.91 $              0.00 $           0.00
                          ONPOINT COMMUNITY
     5                    CREDIT UNION      $                   4,749.79 $              0.00 $           0.00
     6                    Wells Fargo Card Services $          24,970.73 $              0.00 $           0.00
                          Portfolio Recovery
     7                    Associates, LLC                 $     2,183.07 $              0.00 $           0.00
                          Portfolio Recovery
     8                    Associates, LLC                 $       764.28 $              0.00 $           0.00
                 Total to be paid to timely general unsecured creditors                $                 0.00
                 Remaining Balance                                                     $                 0.00




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             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                            NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 7,087.26 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:

                                                      Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                    of Claim              to Date          Payment
                          INTERNAL REVENUE
     1B                   SERVICE                    $         7,087.26 $              0.00 $               0.00
                 Total to be paid to subordinated unsecured creditors                 $                     0.00
                 Remaining Balance                                                    $                     0.00




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